JS 44 (Rev. 10/20)                   Case
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
          Trisha Tshudy                                                                                         Pennsylvania State University

    (b)   County of Residence of First Listed Plaintiff                Lebanon                                  County of Residence of First Listed Defendant              Montgomery
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
          Law Offices of William C. Reil, 1420 Locust Street, Suite
          420, Philadelphia, PA 19102, 215-564-1635
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF         DEF                                        PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State            1           1     Incorporated or Principal Place         4     4
                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State             2         2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a              3         3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                              FORFEITURE/PENALTY                      BANKRUPTCY                      OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability          690 Other                                28 USC 157                       3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                     400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                  PROPERTY RIGHTS                  410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                  820 Copyrights                  430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                                830 Patent                      450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                                835 Patent - Abbreviated        460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                       New Drug Application        470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                        840 Trademark                       Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                        LABOR                        880 Defend Trade Secrets        480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud                710 Fair Labor Standards                  Act of 2016                     (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending               Act                                                               485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                      Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage                Relations                        861 HIA (1395ff)                 490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage            740 Railway Labor Act                862 Black Lung (923)             850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))               Exchange
                                             Medical Malpractice                                              Leave Act                        864 SSID Title XVI               890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
    210 Land Condemnation            ✖   440 Other Civil Rights            Habeas Corpus:                 791 Employee Retirement                                               893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                895 Freedom of Information
    230 Rent Lease & Ejectment           442 Employment                    510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                    443 Housing/                          Sentence                                                             or Defendant)               896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                         871 IRS—Third Party              899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                  IMMIGRATION                           26 USC 7609                     Act/Review or Appeal of
                                             Employment                    Other:                         462 Naturalization Application                                            Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other           465 Other Immigration                                                 950 Constitutionality of
                                             Other                         550 Civil Rights                   Actions                                                               State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION                          Brief description of cause:
                                             Plaintiff illegally prohibited from completing law school.
VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                Injunctive Relief                          JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                 DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
August 21. 2022                                                             /s/ William C. Reil
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                            MAG. JUDGE
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                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                     762 Palmyra Bellegrove Road, Annville, PA 17003
Address of Plaintiff: ______________________________________________________________________________________________
                                         1600 Woodland Road, Abington, PA 19001
Address of Defendant: ____________________________________________________________________________________________
                                                               Pennsylvania State University
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           08/21/2022
DATE: __________________________________                                     /s/ William C. Reil
                                                             __________________________________________                                    26833
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________

✔      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

              William C. Reil
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

             Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔
             Relief other than monetary damages is sought.


           08/21/2022
DATE: __________________________________                                   /s/ William C. Reil
                                                             __________________________________________                                    26833
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

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LAW OFFICES OF WILLIAM C. REIL
BY: WILLIAM C. REIL, ESQUIRE
Identification No. 26833
1420 Locust Street, Suite 420
Philadelphia, PA 19102
215-564-1635                                           ATTORNEY FOR PLAINTIFF
TRISHA TSHUDY                 :                        UNITED STATES DISTRICT
762 Palmyra Bellegrove Road   :                        COURT FOR THE EASTERN
Annville, PA 17003            :                        DISTRICT OF PENNSYLVANIA
                              :
           v.                 :
                              :
PENNSYLVANIA STATE UNIVERSITY :                        NO.
1600 Woodland Road            :
Abington, PA 19001            :                        JURY TRIAL DEMANDED

                           COMPLAINT - CIVIL ACTION

                                        PARTIES

    1. The plaintiff is Trisha Tshudy, who is an adult individual residing at the address

in the caption.

    2. The defendant is Penn State University, a state-related educational entity of the

Commonwealth of Pennsylvania, whose address for service of process is indicated in

the caption.

                            JURISDICTION AND VENUE

    3. The Court has jurisdiction under the Due Process clause of the United States

Constitution and the Civil Rights Act, 42 U.S.C. 1983, with pendent jurisdiction to

consider any claims arising under state law.

    4. Venue is properly before the Court, since defendant is located and conducts

business in the Eastern District of Pennsylvania.

                             GENERAL ALLEGATIONS

    5. Plaintiff is a law student at the Dickinson Law School of the Pennsylvania State

University.

    6. At all times material herein, plaintiff is scheduled to begin her third and last year
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at Dickinson Law School, which commences August 22, 2022.

    7. Plaintiff had suffered from Neurological Lyme Disease (cerebral borreliosis) and

co-infections, immunological conditions, for years prior to her diagnosis in 2009 and

has received aggressive treatment since.

    8. Ms. Tshudy received a scholarship to the Dickinson Law School in 2019 to be

implemented in Fall of 2020.

    9. At all times material herein, plaintiff received accommodations from Penn State,

based on submitted medical data and her previous history of accommodations, which

were essential to the completion of her undergraduate degree and were implemented

for the three semesters during COVID that included the potentially life-saving

precaution of taking her courses online due to her immunological condition.

    10. At the end of the Fall 2021 semester, Penn State University discriminated

against the plaintiff, violating her rights under the ADA, when the school refused to

honor the agreed upon accommodations and required her to come to the campus for her

online exams despite the threat to her health.

    11. This act of discrimination and breach of agreement caused the plaintiff to

overexpose her immune system and resulted in severe illness of which the

administration was informed.

    12. The plaintiff’s in-person request for any relief options including, but not

limited to, delay of the due date for her seminar paper to adjust for the resulting illness,

were all denied. As such, she was forced to complete all finals while severely ill and

submit a paper, which was incomplete, while under threat that delayed submission

would mean course failure.

    13. Plaintiff was accused of a violation of the honor code, essentially plagiarism,
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when she submitted said paper for Adjunct Professor James M. Gould. She received a

grade of “F” for his course and plaintiff is requesting rescission of that grade.

    14. Professor Gould never communicated with plaintiff before he made allegations

of plagiarism.

    15. Plaintiff had a hearing on or about January 14, 2022 at which Penn State found

against her and her scholarship was revoked. A month later, immediately after

inquiring about her affirmative action rights but without any prior notice, her

scholarship was retroactively revoked with threat that delayed payment can lead to

permanent dismissal from the law school. A true and correct copy of the letter from

Dean Danielle M. Conway on February 16, 2022 revoking the scholarship is attached

and incorporated as Exhibit A.

    16. After inquiring to administration about her rights, Plaintiff’s repeated attempts

to contact the Financial Aid office to explore temporary payment options as

recommended in the letter went unanswered. Plaintiff then inquired of the Bursar’s

Office for the same information and was told that her scholarship could not be revoked

at that time because Dickinson had not followed proper procedures.

    17. Plaintiff was then instructed by Dean Conway not to speak to anyone about

the information that she received from the Bursar’s Office.

    18. At Plaintiff’s hearing, she did not have the opportunity to have counsel or

expert advice concerning a similarity checker called Turnitin or the previous computer

system used by the University, which results substantially diverged from each other.

    19. Plaintiff was denied due process at her honor code hearing.

    20. Penn State violated its own procedures (and possibly state law by retroactively

revoking PA Scholars Award) by retroactively confiscating scholarship funds.
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    21. Penn State originally submitted plaintiff’s paper to a computer similarity

checker, and when that result was not to the University’s liking, Penn State then

submitted the paper in question to a different similarity checker, Turnitin.

    22. Plaintiff’s disability accommodation by Dickinson was violated, inter alia,

because she was required to take her final examinations on campus.

                                            SUMMARY

    23. The gravamen of this lawsuit arises out of the violation of plaintiff’s due

process rights and rescission of her scholarship, going into her third year of law school

at Dickinson. Plaintiff was denied rudimentary due process at her honor code hearing,

was denied counsel, and was forced to confront a so-called similarity checker, inter alia.

These machines were not used in plaintiff’s other courses.

    24. Dickinson discriminated against the plaintiff by violating her right to

accommodations under the ADA, the very accommodations Penn State University

agreed to and memorialized on which the plaintiff detrimentally relied. Plaintiff was

required to take her online final exams on campus when such action was deleterious to

her health.

    25. When plaintiff learned from the Bursar’s Office that her scholarship had been

revoked without proper procedure, her First Amendment rights were then violated. She

was instructed by Dean Conway not to speak with anybody on campus concerning what

the Bursar had told her. Defendant retaliated and discriminated against plaintiff arising

out of exercise of her rights as a disabled person. The effectual refusal to allow

financial services to communicate with the Plaintiff until the completion of the

affirmative action review is retaliation.
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                          FIRST CAUSE OF ACTION
                     TRISHA TSHUDY V. ALL DEFENDANTS


    26. Plaintiff incorporates all prior paragraphs as though fully set forth herein.

    27. This cause of action is for violation of plaintiff’s due process rights when Penn

State conducted an honor code hearing concerning alleged plagiarism by plaintiff.

    28. Plaintiff was not given counsel at the hearing.

    29. Penn State used a different similarity checker named Turnitin, when the

original similarity checker did not reveal what the University had hoped to prove.

    30. The University had no published standards for any computer similarity checker.

    31. Plaintiff was forced to confront similarity checkers which were expert

computer systems without any expert advice or testimony on her part.

    32. Plaintiff was not allowed to appropriately cross-examine her accusers, nor

confront the evidence and witnesses against her.

    33. Ms. Tshudy’s paper was illegally submitted to Turnitin by defendant, since her

permission was a sine non qua for the use of Turnitin.

    34. The Turnitin End-User License Agreement requires that Tshudy would have

had to agree to what defendant did surreptitiously and without her consent. In the case

of A.V. v. Iparadigms, Limited Liability Company, 544 F. Supp. 2d 473 (E.D. Va. 2008),

a civil action, United States District Judge Claude M. Hilton in an Opinion on 03/11/08,

discusses the nature of Turnitin in a Memorandum Opinion. Judge Hilton, on page 2 of

his Opinion, references the user agreement and indicates that Turnitin can only be used

if the student clicks “I Agree”. It is argued that there is no dispute that Penn State

submitted Tshudy’s paper to Turnitin in violation of the law.

    35. As a result of the conduct of Penn State and the Dickinson Law School, and
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their agents, the civil rights of plaintiff under 42 U.S.C. 1983 and Due Process rights of

plaintiff were violated as set forth herein.

    36. Plaintiff has suffered damages, including but not limited to, failure to receive a

Juris Doctor degree, loss of required internships, loss of opportunity for further

employment, and loss of her tuition, and the cost of books and incidental expenses, as

well as loss of future earnings and earning capacity. Plaintiff also suffered damages

arising from the arbitrary actions of the defendant in failing to allow plaintiff to

complete her course of studies and revocation of her scholarship, as well as severe

emotional distress and loss of life’s pleasures.

    WHEREFORE, plaintiff requests damages in excess of $150,000 at Trial, plus

interest, costs, and attorney’s fees, if applicable, as well as reinstatement and any

appropriate injunctive or judicial relief.

                         SECOND CAUSE OF ACTION
                     TRISHA TSHUDY V. ALL DEFENDANTS


    37. Plaintiff incorporates all prior paragraphs as though fully set forth herein.

    38. At all times material herein, Trisha Tshudy suffered from a serious

immunological disease which placed her in the high risk/life threatening population

during the COVID pandemic.

    39. Ms. Tshudy was granted remote enrollment for the Fall 2020, Spring 2020, and

Fall 2021 semesters as a disability accommodation from Penn State.

    40. Ms. Tshudy relied on the representations of Penn State to her detriment.

    41. Penn State discriminated against Ms. Tshudy bu forcing her take her Fall 2021

examinations on campus to the detriment of her health.

    42. Penn State violated its promises to Ms. Tshudy and obligations under the
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University disability procedures and the Americans with Disability Act. Plaintiff

relied on these promises to her detriment.

    43. Plaintiff has suffered damages, including but not limited to, failure to receive a

Juris Doctor degree, loss of required internships, loss of opportunity for further

employment, and loss of her tuition, and the cost of books and incidental expenses, as

well as loss of future earnings and earning capacity. Plaintiff also suffered damages

arising from the arbitrary actions of the defendant in failing to allow plaintiff to

complete her course of studies and revocation of her scholarship, as well as severe

emotional distress and loss of life’s pleasures.

    WHEREFORE, plaintiff requests damages in excess of $150,000 at Trial, plus

interest, costs, and attorney’s fees, if applicable, as well as reinstatement and any

appropriate injunctive or judicial relief.

                          THIRD CAUSE OF ACTION
                     TRISHA TSHUDY V. ALL DEFENDANTS


    44. Plaintiff incorporates all prior paragraphs as though fully set forth herein.

    45. This is a cause of action is for violation of plaintiff’s First Amendment rights as

well as 42 USC 1983, the Civil Rights Act.

    46. When the plaintiff inquired about her affirmative action rights, Penn State

immediately revoked plaintiff’s scholarship and the Carlisle Campus Financial Office

refused to communicate regarding account resolution options, so the plaintiff contacted

the Bursar’s Office at Penn State.

    47. Ms. Tshudy was advised by the Bursar’s Office that her scholarship MUST

have been accidentally revoked because it cannot be retroactively revoked once

credited to the account, and the law school and University had not followed their own

process, and defendant acted without the certification required by their own policy.
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    48. When she advised the law school concerning this, she was told by Dean

Conway that she was forbidden to discuss this with any Penn State employees. A true

and correct copy of the June 7, 2022 letter of Dean Conway is attached and

incorporated as Exhibit B.

    49. This was a clear attempt by the law school to silence plaintiff and abrogate her

First Amendment rights in order to cover up an alleged mistake by defendant.

    50. Defendant is on notice of this action. On August 9, 2022 undersigned counsel

sent a letter of representation to Penn State. Plaintiff executed a FERPA form for

educational records from Penn State. Counsel for Penn State sent educational records

to undersigned counsel. A true and correct copy of the letter of representation to Penn

State is attached and incorporated as Exhibit C.

    51. Plaintiff has suffered damages, including but not limited to, failure to receive a

Juris Doctor degree, loss of required internships, loss of opportunity for further

employment, and loss of her tuition, and the cost of books and incidental expenses, as

well as loss of future earnings and earning capacity. Plaintiff also suffered damages

arising from the arbitrary actions of the defendant in failing to allow plaintiff to

complete her course of studies and revocation of her scholarship, as well as severe

emotional distress and loss of life’s pleasures.

    WHEREFORE, plaintiff requests damages in excess of $150,000 at Trial, plus

interest, costs, and attorney’s fees, if applicable, as well as reinstatement and any

appropriate injunctive or judicial relief.


                                                               Respectfully submitted,

                                                               /s/ William C. Reil
                                                               William C. Reil, Esquire
                                                               Attorney for Plaintiff
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        EXHIBIT “A”

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        EXHIBIT “C”

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                             William C. Reil, Esquire
               1420 Locust Street, Suite 420, Philadelphia, PA 19102
                      Tel: 215-564-1635 Fax: 215-564-4292
                             BillReilLaw@gmail.com



August 9, 2022                               BY EMAIL and REGULAR MAIL
                                             president@psu.edu

Neeli Bendapudi, PhD
Office of the President
Pennsylvania State University
210 Old Main
University Park, PA 16802

       Re: Trisha Tshudy v. Penn State University, et al
           Letter of Representation, Request to Speak with Counsel,
           Injunctive Relief

Dear President Bendapudi:

Please be advised that I represent Trisha Tshudy, a student going into her third year at
Penn State University, Dickinson Law School. Ms. Tshudy was diagnosed with
neurological Lyme disease in 2009. My client uses a service dog. She was awarded a
scholarship by the Dickinson Law School in 2020. She was also given disability
accommodations pursuant to the ADA by the law school after submitting substantial
medical evidence. I write because my client had her accommodations violated, her
scholarship revoked, and thus cannot continue at Dickinson Law School. This
resulted from extremely unfair and illegal treatment by the law school. I understand
that Dickinson begins classes on August 22, 2022. It is urged that you independently
investigate this matter to ascertain the truth for yourself.

Penn State not only violated her rights to reasonable accommodations under the ADA,
but also her procedural and substantive due process rights, as well as exercise of the
First Amendment. Ms. Tshudy received written notice from the law school that she
could not communicate concerning her illegal treatment to other persons at the law
school. It was medically necessary for her to continue remotely with her studies, but
Ms. Tshudy was suddenly told that she had to report to the campus to take her final
exams. This was in contravention of her medical needs as a result of the
immunological disorder. This action coupled with the refusal of staff to ameliorate the
effects of this breach led to additional harm. She was then accused of plagiarism in a
proceeding which was in total derogation of due process. Similarity checkers were
manipulated to give negative results against my client. She was effectively denied
representation at her hearing. My client detrimentally relied on the promises of the
law school, which promises were breached.
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These episodes severely violated Ms. Tshudy’s rights and have effectively terminated
her future career as an attorney. I am in the process of preparing a complaint and
requesting injunctive relief. I would appreciate it if you would refer this letter to your
counsel so I can discuss the matter with them as soon as possible.

Sincerely yours,



William C. Reil
WCR/mr

cc: Trisha Tshudy
